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 AO 91 Rev. 11/11 Criminal Com l:iint


                                        UNITED STATES DISTRICT COURT
                                        for the
                             Northern District of New York
 UNITED STATES OF AMERICA           )
                v.                  )
                                    )        Case No. 1:21 -MJ- SDC/ (DJ
 JAMIE JOHNSON, A/KIA JAMES C.      )
 JOHNSON                            )
                                    )
                                    )
                       Defendant.                   )

                                              CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On

or about the date(s) of November 5, 2020 in the county of Albany in the Northern District of New York the

defendant violated:

             Code Section                                                Offense Description
 18 U.S.C. § 1341                               Mail Fraud




 This criminal complaint is based on these facts:
See attached affidavit.
  ~      Continued on the attached sheet.


                                                                        Complainant's signature
                                                                  HSI Special Agent Timothy W. Irving
                                                                           Printed name and title

 Attested to by the affiant in accordance with Rule 4. I of the Fede ·

 Date:     October 26, 2021


 City and State:          Albany, New York                    Hon. Daniel J. Stewart, U.S. Magistrate Judge
                                                                           Printed name and title
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

              v.
                                              Case No. I :2 l-MJ-5O9 (DJS)
JAMIE JOHNSON, A/KlA JAMES C.
JOHNSON,                                      Filed Under Seal

            Defendant.



            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Timothy W. Irving, a Special Agent with Homeland Security Investigations

("HSI"), being duly sworn, depose and state as follows:

                                   INTRODUCTION

       1.     I make this affidavit in support of a criminal complaint charging Jamie

Johnson ("Johnson") with mail fraud committed in violation of 18 U .S.C. § 1341.

       2.      I am a Special Agent with HSI, an agency of the U.S. Department of

Homeland Security, based in Latham, New York. I have been employed in that capacity

since April 2007. I was previously employed as a Customs and Border Protection Officer

in Alexandria Bay, New York and as a Customs and Border Protection Agriculture

Specialist in Boston, Massachusetts. During my tenure at HSI, I have gained education

and experience in investigating cases involving suspected financial crimes.

       3.      I am familiar with the facts of this case based, among other things, on my

personal involvement in this investigation and my conversations with other law

enforcement officers and government agents, as well as my review of various reports and

documents in connection with the matter. This affidavit is intended to show merely that

there is sufficient probable cause for a criminal complaint and does not set forth all of my
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I, the Honorable Daniel J. Stewart, United States Magistrate Judge, hereby acknowledge
that this   1 vit was attested by the affiant by telephone on October 26, 2021 in
                Rule 4.1 of the Federal Rules of Criminal Procedure.




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